         Case 6:17-cv-00841-SI        Document 79       Filed 04/22/19     Page 1 of 14




                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON



DENNIS GINES,                                        Case No. 6:17-cv-00841-SI

               Plaintiff,                            ORDER

       v.

OREGON DEPARTMENT OF
CORRECTIONS (ODOC), a political
subdivision in charge of the Oregon State
Penitentiary (OSP), et al.,

               Defendants.


Michael H. Simon, District Judge.

       Plaintiff Dennis Gines brings this action after suffering an injury while incarcerated at the

Oregon State Penitentiary (“OSP”). Plaintiff’s feet were burned by boiling water while Plaintiff

was working in the OSP Food Services Section. Plaintiff asserts that this injury was due to

unsafe working conditions, namely a lack of adequate protective footwear. Plaintiff also asserts

that in the course of receiving medical treatment for his burns, Defendant Julie McCrae, a

treating nurse for OSP, engaged in the unnecessary and wanton infliction of pain to Plaintiff in

PAGE 1 – ORDER
           Case 6:17-cv-00841-SI        Document 79        Filed 04/22/19     Page 2 of 14




violation of Plaintiff’s Eighth Amendment rights against cruel and unusual punishment.

Defendants have moved for summary judgment (ECF 49) against all of Plaintiff’s claims. For the

reasons that follow the Court grants Defendants’ motion in part and denies it in part.

                                           STANDARDS

       A party is entitled to summary judgment if the “movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

Fed. R. Civ. P. 56(a). The moving party has the burden of establishing the absence of a genuine

dispute of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). The court must view

the evidence in the light most favorable to the non-movant and draw all reasonable inferences in

the non-movant’s favor. Clicks Billiards Inc. v. Sixshooters Inc., 251 F.3d 1252, 1257 (9th

Cir. 2001). Although “[c]redibility determinations, the weighing of the evidence, and the

drawing of legitimate inferences from the facts are jury functions, not those of a judge . . . ruling

on a motion for summary judgment,” the “mere existence of a scintilla of evidence in support of

the plaintiff’s position [is] insufficient . . . .” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252,

255 (1986). “Where the record taken as a whole could not lead a rational trier of fact to find for

the non-moving party, there is no genuine issue for trial.” Matsushita Elec. Indus. Co. v. Zenith

Radio Corp., 475 U.S. 574, 587 (1986) (citation and quotation marks omitted).

                                          BACKGROUND

       The factual background is drawn from Plaintiff’s Complaint.1 ECF 2. On May 30, 2015,

Plaintiff’s feet were burned while he was working in the OSP Food Services Section. Another


       1
         Plaintiff has filed a Motion for Leave to File an Amended Complaint and an Amended
Complaint, ECF 63, which Defendants oppose. ECF 75. Plaintiff seeks to add the following
defendants in the Amended Complaint: Oregon Department of Corrections; Oregon State
Penitentiary; and Gavenan Kate Branin, Director of the Oregon State Board of Nursing. The
addition of the first two Defendants is denied because state agencies are immune from suit under
the Eleventh Amendment. Port Auth. Trans-Hudson Corp. v. Feeney, 495 U.S. 299, 304 (1990).
PAGE 2 – ORDER
         Case 6:17-cv-00841-SI         Document 79        Filed 04/22/19     Page 3 of 14




inmate also working in the Section was using a five-gallon bucket filled with boiling water to

clean the floors. As Plaintiff entered the room, the other inmate poured boiling water onto the

floor, and the water filled both of Plaintiff’s shoes. The water caused burns to Plaintiff’s feet,

which required medical treatment for 21 days.

       Plaintiff also asserts that at some time prior to being burned, Plaintiff had asked the

Assistant Food Services Manager, Richard Ridderbusch, to provide Plaintiff with work boots.

Plaintiff states that approximately three-quarters of the inmates in the section were provided with

work boots. Ridderbush denied Plaintiff’s request and stated that Plaintiff was required to wear

his own shoes. Plaintiff asserts that this policy was unreasonable and that if Plaintiff had been

issued boots he would not have been injured.

       Plaintiff received treatment in the OSP infirmary as a result of the injury. Plaintiff chose

6:00 PM as his daily treatment time, and Plaintiff states that his treatment went well for several

days. On June 4, 2015, however, Plaintiff was treated by nurse Julie McCrae, and Plaintiff

asserts that McCrae “expressed her anger with Plaintiff for being scheduled to change his

bandages at a time she disagreed with.” ECF 2. Plaintiff asserts that McCrae insisted that



The addition of Gavenan Kate Branin is denied because Plaintiff does not plead facts sufficient
to show personal involvement by Branin. Barren v. Harrington, 152 F.3d 1193, 1194 (9th Cir.
1998). Plaintiff also seeks to add claims for declaratory and injunctive relief that would require
inmate general food-service workers to be issued work boots. Plaintiff is no longer incarcerated,
ECF 77, and therefore this new claim is moot. Plaintiff also contends that the decision to treat his
burns at the prison clinic rather than sending him to a hospital constituted inadequate medical
care in violation of the Eighth Amendment. The Ninth Circuit has held that “to prevail on a claim
involving choices between alternative courses of treatment, a prisoner must show that the chosen
course of treatment was medically unacceptable under the circumstances, and was chosen in
conscious disregard of an excessive risk to [the prisoner’s] health.” Toguchi v. Chung, 391 F.3d
1051, 1058 (9th Cir. 2004). Even while viewing the evidence in the light most favorable to
Plaintiff, Plaintiff’s amended complaint does not show that the decision to treat Plaintiff’s burns
at the prison infirmary was medically unacceptable. Because Plaintiff’s new claims fail as a
matter of law, the motion for leave to amend is denied. ECF 63.

PAGE 3 – ORDER
         Case 6:17-cv-00841-SI         Document 79       Filed 04/22/19      Page 4 of 14




Plaintiff’s bandage changes be scheduled for 3:00 PM beginning the next day. Plaintiff asked

McCrae to keep 6:00 PM as his appointment time, but McCrae said no.

       The next day McCrae was not on duty, and Plaintiff asked another nurse, nurse Hughes,

if he could return his bandage-change schedule to 6:00 PM. Nurse Hughes allowed the change

and rescheduled Plaintiff. On June 9 at 6:00 PM, when Plaintiff was there for his appointment,

McCrae was leaving her shift and saw Plaintiff. The next day, McCrae called Plaintiff to the

infirmary at 2:45 PM using a cell block sergeant’s pass. When Plaintiff arrived, McCrae

allegedly began to yell at Plaintiff for having his schedule changed.

       McCrae also “insisted that she change Plaintiff’s bandage,” and Plaintiff attempted to

unwrap his bandage himself, fearing that she would harm him. Plaintiff asserts that McCrae was

clearly angry, and that he attempted to explain to McCrae that the wound was still fresh. McCrae

allegedly said that “I’ll be the judge of that,” and “grabbed the bandage and pulled it straight up,

causing the bandage and gauze pad to twist around Plaintiffs foot until it finally came loose.”

The unwrapping tore Plaintiff’s wound open and removed flesh, causing the wound to bleed.

Plaintiff alleges that McCrae began to laugh, and that she said “[l]ook, there’s no blood,” even as

she began to use towels to soak up Plaintiff’s blood.

       Plaintiff asserts that he sent a three-page Inmate Communication to McCrae, asking her

to explain why she had treated him in the way she did. Plaintiff states that McCrae has not

responded. Plaintiff returned to the infirmary the next day, and Plaintiff asserts that he

discovered that his medical records showed that McCrae did not make a log for his June 10th

encounter. Because, Plaintiff asserts, it is the standard procedure in ODOC Health Services to

make a log note in an inmate’s medical record every time an inmate receives treatment, this




PAGE 4 – ORDER
          Case 6:17-cv-00841-SI        Document 79        Filed 04/22/19      Page 5 of 14




missing log entry is, in Plaintiff’s view, evidence of McCrae’s attempt to conceal her infliction

of injury to Plaintiff.

        On June 11th, Plaintiff explained what happened, to Nurse Olachea and Nurse Hughes,

and he showed them his bloody bandage. Plaintiff wanted both nurses to witness the bandage and

to update his medical file accordingly. Plaintiff asserts that the two nurses said they would

update Plaintiff’s medical file. When Plaintiff did not hear from either nurse within the 30-day

limit to file a grievance, he sent them both a communication to remind them that they said they

would make a notation in Plaintiff’s medical file. Instead of getting a response back from either

Olachea or Hughes, Plaintiff received a response from Nurse Manager Magee. Magee advised

Plaintiff not to send any more communications to the nurses and accused Plaintiff of using “staff

splitting tactics.” The next day, Magee issued Plaintiff a Major Disciplinary Report. Plaintiff

argues that Magee intercepted Plaintiff’s communications in an effort to prevent him from

documenting the improper actions of nurse McCrae.

                                           DISCUSSION

        Defendants argue that they are entitled to summary judgment because: (1) Plaintiff’s

claims against Defendants in their official capacities are barred by the Eleventh Amendment; (2)

Defendants, in their individual capacities, are entitled to qualified immunity because Plaintiff

cannot establish a violation of his constitutional rights; and (3) Plaintiff failed to provide timely

tort claim notice on the pendant state law negligence claims.

        To the extent that Plaintiff asserts claims against Defendants in their official capacities,

those claims are dismissed. The Supreme Court has held that, absent a waiver by the State or a

valid congressional override, the Eleventh Amendment bars a damages action against a state in

federal court. Port Auth. Trans-Hudson Corp. v. Feeney, 495 U.S. 299, 304 (1990). This bar

remains in effect when state officials or agencies are sued for damages in their official capacity.
PAGE 5 – ORDER
         Case 6:17-cv-00841-SI          Document 79        Filed 04/22/19     Page 6 of 14




Kentucky v. Graham, 473 U.S. 159, 169 (1985). That is so because “a judgment against a public

servant ‘in his official capacity’ imposes liability on the entity that he represents . . . .” Brandon

v. Holt, 469 U.S. 464, 471 (1985). See also Will v. Michigan Dep’t of State Police, 491 U.S. 58,

71 (1989) (holding that states, state agencies, and state officials sued officially are not “persons”

subject to suit under Section 1983). Therefore, the allegations and any related damages claim

against the Defendants in their official capacity are barred by the Eleventh Amendment. The

Court will therefore analyze Defendants’ latter two arguments relevant to claims against

Defendants in their individual capacities: that they are entitled to qualified immunity, and that

Plaintiff failed to provide timely tort claim notice.

A. Qualified Immunity

       Defendants argue that they are entitled to qualified immunity because: (1) Plaintiff

received adequate medical care to treat his injury; (2) the denial of work boots did not violate

Plaintiff’s constitutional rights, and relatedly, Plaintiff does not have a clearly established

constitutional right to receive work boots; and (3) Nurse McCrae did not use excessive force as

retaliation in violation of the Eighth Amendment, and assuming any force was used during the

bandage change incident, the force was not more than de minimis. The Court addresses each of

these arguments in turn, but first discusses the doctrine of qualified immunity applicable to all

three of these arguments.

       “The doctrine of qualified immunity protects government officials from liability for civil

damages.” Wood v. Moss, 134 S.Ct. 2056, 2066-67 (2014); Krainski v. Nevada ex. Rel. Bd. of

Regents, 616 F.3d 963, 968 (9th Cir. 2010). “Qualified immunity balances two important

interests—the need to hold public officials accountable when they exercise power irresponsibly

and the need to shield officials from harassment, distraction, and liability when they perform

their duties reasonably.” Pearson v. Callahan, 555 U.S. 223, 231 (2009). “Whether qualified
PAGE 6 – ORDER
          Case 6:17-cv-00841-SI          Document 79        Filed 04/22/19       Page 7 of 14




immunity can be invoked turns on the ‘objective legal reasonableness’ of the official’s acts. And

reasonableness of official action, in turn, must be ‘assessed in light of the legal rules that were

clearly established at the time [the action] was taken.’” Ziglar v. Abbasi, 137 S.Ct. 1843, 1866

(2017) (citation omitted) (alteration in original) (quoting Harlow v. Fitzgerald, 457 U.S. 800,

819 (1982) and Anderson v. Creighton, 483 U.S. 635, 639 (1987)). “The privilege is an immunity

from suit rather than a mere defense to liability; . . . it is effectively lost if a case is erroneously

permitted to go to trial.” Saucier v. Katz, 533 U.S. 194, 200-01 (2001) (quotation marks omitted)

(emphasis in original). For this reason, the Court has “stressed the importance of resolving

immunity questions at the earliest possible stage in litigation.” Hunter v. Bryant, 502 U.S. 224,

227 (1991) (per curiam). Qualified immunity, however, is only an immunity from suit for

damages, it is not an immunity from suit for declaratory or injunctive relief. See L.A. Police

Protective League v. Gates, 995 F.2d 1469, 1472 (9th Cir. 1993).

        In Saucier, the Supreme Court outlined a two-step process for determining the

applicability of the qualified immunity doctrine. 533 U.S. at 200. The first step is to determine

“whether a constitutional right would have been violated on the facts alleged.” Id. The second

step is to determine “whether the right was clearly established.” Id. The constitutional issue,

however, need not be addressed first in every case. Pearson, 555 U.S. at 227. Regardless of

whether the constitutional violation occurred, the officer should prevail if the right asserted by

the plaintiff was not clearly established or the officer could have reasonably believed that his

particular conduct was lawful. Romero v. Kitsap Cty., 931 F.2d 624, 627 (9th Cir. 1991).

        To determine whether a government official’s conduct violates clearly established law, “a

court must ask whether it would have been clear to a reasonable officer that the alleged conduct

was unlawful in the situation he confronted.” Ziglar, 137 S.Ct. at 1867. To be clearly established,



PAGE 7 – ORDER
         Case 6:17-cv-00841-SI          Document 79      Filed 04/22/19      Page 8 of 14




“[i]t is not necessary . . . that the very action in question has previously been held unlawful. That

is, an officer might lose qualified immunity even if there is no reported case directly on point.

But in the light of pre-existing law, the unlawfulness of the officer’s conduct must be apparent.

Id. (citations and quotation marks omitted). “The ‘clearly established’ requirement ‘operates to

ensure that before they are subject to suit, [government officials] are on notice their conduct is

unlawful.’” Eng v. Cooley, 552 F.3d 1062, 1075 (9th Cir. 2009) (quoting Hope v. Pelzer, 536

U.S. 730, 739 (2002)) (alteration in original). Thus, the key inquiry in determining whether an

officer has qualified immunity is whether the officer had “fair warning” that his conduct was

unconstitutional. Hope, 536 U.S. at 741; see also Saucier, 533 U.S. at 202 (noting that the law

need not be a “precise formulation of the standard” as long as “various courts have agreed that

certain conduct is a constitutional violation under facts not distinguishable in a fair way from the

facts presented in the case at hand”); Ellins v. City of Sierra Madre, 710 F.3d 1049, 1064 (9th

Cir. 2013) (“Rather, the relevant question is whether ‘the state of the law at the time gives

officials fair warning that their conduct is unconstitutional.’” (quoting Bull v. City & Cty. of San

Francisco, 595 F.3d 964, 1003 (9th Cir. 2010) (en banc) (“[T]he specific facts of previous cases

need not be materially or fundamentally similar to the situation in question.”))).

        The plaintiff bears the burden of making a showing that the right was clearly established

at the time of the alleged violation. Sorrels v. McKee, 290 F.3d 965, 969 (9th Cir. 2002). When

considering whether qualified immunity applies, the court must resolve all factual disputes in

favor of the party asserting the injury..

        1. Adequate Medical Care

        The government has an obligation “to provide medical care [to] those whom it is

punishing by incarceration.” Estelle v. Gamble, 429 U.S. 97, 103 (1976). The unnecessary and

wanton infliction of pain is proscribed by the Eighth Amendment. Id. at 104. In this context,
PAGE 8 – ORDER
            Case 6:17-cv-00841-SI      Document 79       Filed 04/22/19     Page 9 of 14




however, “[m]edical malpractice does not become a constitutional violation merely because the

victim is a prisoner.” Id. at 106. Allegations that a medical professional was negligent in

diagnosing or treating a medical condition does not state a valid claim of medical mistreatment

under the Eighth Amendment. Id.

       To establish an Eighth Amendment violation under § 1983 a prisoner must satisfy “both

the objective and subjective components of a two-part test.” Toguchi v. Chung, 391 F.3d 1051,

1057 (9th Cir. 2004) (quoting Hallett v. Morgan, 296 F.3d 732, 744 (9th Cir. 2002)). First, the

plaintiff must show that the prison official deprived him of the “minimal civilized measure of

life’s necessities.” Id. (quotations and citation omitted). Second, he must demonstrate that the

prison official “acted with deliberate indifference in doing so.” Id. (quotations and citation

omitted).

       Defendants argue that Plaintiff’s alleged deprivation was not “sufficiently serious” to

satisfy the objective component of the two-part test to establish an Eighth Amendment violation.

The Ninth Circuit has held that a “serious medical need is present whenever the failure to treat a

prisoner’s condition could result in further significant injury or the unnecessary and wanton

infliction of pain.” Clement v. Gomez, 298 F.3d 898, 904 (9th Cir. 2002) (quotation omitted). In

Clement, the panel held that the “painful effects of pepper spray” satisfied the objective

component of the two-part test. Id. The Court therefore finds that a burn wound requiring 21

days of treatment also satisfies the objective component, because the failure to treat such a

wound could result in further significant injury or the unnecessary and wanton infliction of pain.

       Defendants also argue that Plaintiff cannot meet the subjective element of the two-part

test because Defendants’ act of repeatedly treating Plaintiff’s injury negates the culpable mental

state requirement. Defendants cite Estelle for this proposition. 429 U.S. at 108. The plaintiff’s



PAGE 9 – ORDER
         Case 6:17-cv-00841-SI        Document 79        Filed 04/22/19     Page 10 of 14




claim in Estelle, however, was “based solely on the lack of diagnosis and inadequate treatment of

his back injury.” Id. at 107. In this case, in contrast, Plaintiff’s Eighth Amendment claim is based

on allegations of intentional pain caused by McCrae because she was angry at Plaintiff for

changing his bandaging schedule. Plaintiff states that he told McCrae that Plaintiff’s wound was

still fresh. McCrae allegedly said that “I’ll be the judge of that,” and “grabbed the bandage and

pulled it straight up, causing the bandage and gauze pad to twist around Plaintiffs foot until it

finally came loose.” The unwrapping allegedly tore Plaintiff’s wound open and removed flesh,

causing the wound to bleed. Plaintiff alleges that McCrae began to laugh, and that she said

“[l]ook, there’s no blood,” even as she began to use towels to soak up Plaintiff’s blood.

       Plaintiff makes these assertions in a verified complaint. A verified complaint may be used

as an opposing affidavit under Fed. R. Civ. Proc. 56 if it is based on personal knowledge, sets

forth specific facts admissible in evidence, and the plaintiff states under penalty of perjury that

the contents are true and correct. Schroeder v. McDonald, 55 F.3d 454, 460 (9th Cir. 1995).

Plaintiff also offers exhibits as evidentiary support of the alleged conduct, including grievances,

grievance appeals, and a copy of a cell block sergeant’s pass summoning Plaintiff to the

infirmary at 2:45 PM on June 10th. These allegations satisfy the subjective element of the two-

part test insofar as they assert that McCrae engaged in the “unnecessary and wanton infliction of

pain.” Wilson v. Seiter, 501 U.S. 294, 297 (1991); see also Estelle, 429 U.S. at 105-06 (“In order

to state a cognizable claim, a prisoner must allege acts or omissions sufficiently harmful to

evidence deliberate indifference to serious medical needs.”) (emphasis added). The Court




PAGE 10 – ORDER
              Case 6:17-cv-00841-SI     Document 79       Filed 04/22/19      Page 11 of 14




therefore rejects Defendants’ argument that, as a matter of law, Plaintiff received adequate

medical care. Defendants are therefore not entitled to qualified immunity on this claim.2

          2. Denial of Work Boots

          Defendants argue that “the denial of work boots did not violate Plaintiff’s constitutional

rights, and relatedly, that Plaintiff does not have a clearly established constitutional right to

receive work boots” and that Defendants are therefore entitled to qualified immunity from

Plaintiff’s claims related to the alleged deprivation. ECF 49. Plaintiff’s Complaint makes clear,

however, that he is not arguing that there is a clearly established right to receive work boots.

Instead, Plaintiff contends that the denial of work boots violated Plaintiff’s right to be in a “safe

environment” and that Defendants “failed to take reasonable measures to abate” the “risk of

substantial harm.” ECF 2. See Hudson v. Palmer, 468 U.S. 517, 526-527 (1984) (Prison officials

may violate the Eighth Amendment by not taking “reasonable measures to guarantee the safety

of the inmates.”). Plaintiff also alleges that Defendants “demonstrated deliberate indifference” to

the risk of harm by not issuing Plaintiff work boots. See Wilson, 501 U.S. at 297 (holding that

plaintiff must also show that the prison official effecting the deprivation had a “sufficiently

culpable state of mind” as evidenced by, at minimum, “deliberate indifference” to the risk of

harm.).




          2
          The Court notes, however, that Plaintiff has made factual allegations only about the
conduct of McCrae regarding the unnecessary and wanton infliction of pain. “Liability under
§ 1983 must be based on the personal involvement of the defendant.” Barren v. Harrington, 152
F.3d 1193, 1194 (9th Cir. 1998). Plaintiff asserts that Defendants Coffey and Magee attempted to
conceal McCrae’s alleged wrongdoing but does not state a cause of action based on that alleged
concealment beyond a general Eighth Amendment violation. Because Plaintiff does not assert
that any other Defendant participated in the unnecessary and wanton infliction of pain to
Plaintiff, the claims against Defendants Coffey and Magee based on deliberate indifference to
Plaintiff’s medical needs are dismissed.

PAGE 11 – ORDER
         Case 6:17-cv-00841-SI        Document 79        Filed 04/22/19      Page 12 of 14




       Defendants argue that “OSP has developed a list of inmate work assignments that require

boots to be issued, general foodservices workers are not on that list. The reasoning behind the

policy is based on a systematic review of safety conditions of foodservices workers at OSP.”

ECF 49. Defendants also assert that in this case, “OSP conducted an internal review of Plaintiff’s

work boots grievance with the Department Safety Manager and the Institution Safety Committee.

Based on the lack of reported incidents of injury, the Committee decided against issuing work

boots to Plaintiff.” ECF 49.

       While the Court liberally construes the filings of a pro se plaintiff and affords the

plaintiff the benefit of any reasonable doubt, Plaintiff has not offered any evidence that

Defendants “demonstrated deliberate indifference” to a “substantial risk of serious harm” in not

providing Plaintiff work boots. Farmer v. Brennan, 511 U.S. 825, 836 (1994). The court need

not credit the plaintiff’s legal conclusions that are couched as factual allegations insofar as

Plaintiff states that Defendants were deliberately indifferent to a substantial risk of harm.

Ashcroft v. Iqbal, 556 U.S. 662, 678-79 (2009). The evidence offered by Plaintiff indicates that

the Penitentiary Superintendent reviewed the issue with the Department Safety Manager and

decided that issuing boots to all Foodservice inmate workers was not warranted “based on the

lack of reported incidents.” ECF 2-1. The Court therefore finds that because Plaintiff does not

offer any evidence of deliberate indifference by prison officials, his claims about the denial of

work boots do not amount to a violation of the Eighth Amendment. Defendants are therefore

entitled to qualified immunity on these claims.

       3. Excessive Force

       Defendants argue that McCrae did not use excessive force in violation of the Eighth

Amendment, and assuming any force was used, it was not more than de minimis. The Supreme

Court has held that the use of excessive physical force against a prisoner may constitute cruel
PAGE 12 – ORDER
         Case 6:17-cv-00841-SI          Document 79        Filed 04/22/19      Page 13 of 14




and unusual punishment even when the inmate does not suffer serious injury. Hudson v.

McMillan, 503 U.S. 1, 6-7 (1992). The “core judicial inquiry” is “whether force was applied in a

good-faith effort to maintain or restore discipline, or maliciously and sadistically to cause harm.”

Id. at 7. To establish an Eighth Amendment violation, a plaintiff must establish that the use of

force was more than de minimis; not that his injury was more than de minimis. See Oliver v.

Keller, 289 F.3d 623, 628 (9th Cir. 2002); see also Felix v. McCarthy, 939 F.2d 699, 702 (9th

Cir.1991) (“[I]t is not the degree of injury which makes out a violation of the eighth amendment.

Rather, it is the use of official force or authority that is intentional, unjustified, brutal and

offensive to human dignity.”) (internal quotation marks omitted).

        Although the injury that Plaintiff alleges, namely the tearing of a wound in a fashion that

removes flesh, causing the wound to bleed, may not be de minimis, the single use of force that

Plaintiff alleges McCrae used is de minimis: Plaintiff asserts that McCrae “grabbed the bandage

and pulled it straight up, causing the bandage and gauze pad to twist around Plaintiffs foot until it

finally came loose.” Plaintiff has alleged a de minimis level of force used by McCrae, and

therefore Plaintiff’s excessive use of force claims are dismissed. See Anthony v. Schackmann,

402 Fed.Appx. 207, 208 (9th Cir. 2010) (holding that “unprovoked, single slap” constituted only

de minimis force that did not violate Eighth Amendment).

B. Timely Tort Claim Notice

        Pursuant to the Oregon Tort Claims Act (OTCA), a plaintiff pursuing an action against

the state must provide notice of the claim within 180 days of the alleged loss or injury. ORS

§ 30.275. The OTCA specifies the required content of the notice and provides that for claims

against the state or an officer, formal notice must be given. The burden of proving proper and

timely notice is on the plaintiff. ORS § 30.275(7). The pleading and proof of notice sufficient to

satisfy the requirements of the OTCA is a mandatory and a condition precedent to recovery
PAGE 13 – ORDER
         Case 6:17-cv-00841-SI         Document 79       Filed 04/22/19      Page 14 of 14




under the OTCA. Beaver v. Pelett, 299 Or. 664, 671 (1985). Failure to provide timely notice of

claim can be fatal to a plaintiff’s tort claim against a public body. Denucci v. Henningsen, 248

Or. App. 59, 66 (2012).

       Plaintiff states that the actions of McCrae occurred on June 10, 2015. Plaintiff’s tort

claim notices are dated May 15, 2017, and December 5, 2017. Plaintiff failed to provide notice

within 180 days of the alleged abuse. The state law claims of intentional infliction of emotional

distress, medical malpractice, strict liability, and negligence therefore fail as a matter of law.

                                          CONCLUSION

       Defendants’ motion for summary judgment (ECF 49) is DENIED with respect to

Plaintiff’s claim that Defendant McCrae engaged in the unnecessary and wanton infliction of

pain to Plaintiff in violation of the Eighth Amendment. Defendants’ motion is GRANTED in all

other respects. Plaintiff’s motion for leave to file an amended complaint (ECF 63) is DENIED.

Plaintiff’s fifth motion for appointment of counsel (ECF 77) is DENIED. The Court has

previously denied Plaintiff’s motions for appointment of counsel. ECF 55, 57, and 62. Plaintiff

shall continue to proceed pro se.

       IT IS SO ORDERED.

       DATED this 22nd day of April, 2019.


                                                       /s/ Michael H. Simon
                                                       Michael H. Simon
                                                       United States District Judge




PAGE 14 – ORDER
